CRIMINAL CASE COVER SHEET                         U.S. ATTORNEY'S OFFICE

Defendant Name: JOSHUA CAINE DAVIS also known as Big Bro or Boss,
                                                                           1q-(q{p
                                                                          , or
                                                                                   1
                ADAM WADE BEAR,                                          --J \\ \) \
                LINDSEY LOUISE KRAJECK also known as Lindsey Bouchillon,
                VICTOR JAMES RAY,
                DAVID MICHAEL GARBER,
                HARVEY LLOYD NAPIER,
                COY ALLEN MCMURRAY,
                DUSTIN AMOS BARNETTE also known as Barney,
                ALFONSO RAMACUS,
                MARK ADAM BURKE,
                CONNIE PAIGE TERRY also known as Connie Graybeal,
                JAMES ROBERT GRAYBEAL,
                LARRY BLANE HAWKINS also known as Budda,
                ALYSSA FAITH BLEVINS,
                STEVEN RAY EISENMENGER also known as Curly,
                JAMES CURTIS MCDAVID also known as Big Curt,
                HOLLI CHEREE HENSLEY,
                DUSTIN KEITH OVERBAY also known as Player Red,
                TERRAL YNN FETHERMAN,
                TIMOTHY MCKENZIE PARKER,
                BRITTANY NICOLE SAGE also known as Ride or Die,
                MICHAEL WILLIAM SPROLES,
                TYLER REECE DENISON,
                BOBBIE SUE GIDEON,
                CHESTER HINEGARDNER also known as CJ,
                CALEB NATHANIEL DAUGHERTY,
                FAITH LYNN KISER,
                JASON WADE BINGHAM,
                CALEB SCOTT VILLAR also known as Handyman,
                WARREN KEITH EDWARDS,
                MATTHEW DILLON HILTON,
                SHERRI RENEE HILLMAN also known as 9 Ball, and
                ALLEN WAYNE NEFF


Place of Offense (City & County): Johnson City/Sullivan _C_ou_n_ty~-------

Juvenile:   Yes       No        Matter to be Sealed:   Yes   x    No

Interpreter: No _x_   Yes _ _ Language: _ _ _ _ _ _ _ _ _ _ __

Total# of Counts:_ Petty   _   Misdemeanor (Class_)          ~   Felony




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                                      INDICTMENT                                       Count(s)
               U.S.C. Citation(s) and Description of Offense Charged
 Set 1   Conspiracy to distribute 50 grams or more of methamphetamine, a                   1
         Schedule II controlled substance (21 U.S.C. §§ 846, 841(a)(1) and
         (b)(1)(A))
         Aided and abetted by another, possess with the intent to distribute 50          2, 15
         grams or more of methamphetamine, a Schedule II controlled
         substance (21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 18 U.S.C. § 2)
         Possession of a firearm in furtherance of a drug trafficking offense (18    3, 5, 7, 9, 10,
         U.S.C. § 924(c)(1)(A))                                                     14, 17, 21, 24,
                                                                                    26, 28, 29, 32,
                                                                                         37,38
         Being a felon in possession of a firearm (18 U.S.C. § 922(g)(1))            4, 6, 11, 22,
                                                                                        30,39
         Possess with the intent to distribute a quantity of methamphetamine, a            8
         Schedule II controlled substance (21 U.S.C. §§ 841 (a)(1) and (b)(1 )(C)
         Possess with the intent to distribute 5 grams or more of                   12, 13, 19, 25,
         methamphetamine, a Schedule II controlled substance (21 U.S.C. §§            31, 35, 36
         841(a)(1) and (b)(1)(B)
         Distributing 5 grams or more of methamphetamine, a Schedule II                   16
         controlled substance (21 U.S.C. §§ 841(a)(1) and (b)(1)(8))
         Possess with the intent to distribute 50 grams or more of                    18, 20, 23,
         methamphetamine, a Schedule II controlled substance (21 U.S.C. §§              27,34
         841 (a)(1 ), (b)(1 )(A))
         Possession of a firearm with an obliterated serial number (18 U.S.C. §           33
         922(k), 924(a)(1)(8))

Current Trial Date (if set): _ _ _ _ _ _ _ _ before Judge _ _ _ _ _ _ _ _ _ _ _ _ __

Criminal Complaint Filed:No _       Yes     _x_ Case   No. 2:19-MJ-261 (U.S. v. Dustin Overbay)

Defendant on Supervised Release: Yes _ _ No - -

Violation Warrant Issued?     Yes   - -No- -             Case No.   -----
Related Case(s):

2:19-CR-165 (U.S. v. James Curtis McDavid) Same defendant included with this indictment.
McDavid has not been arrested/arrainged in Case 2:19-CR-165. Case 2:19-CR-165 will be
dismissed.
Case Number          Defendant's attorney          How related

2:19-CR-132 (U.S. v. Thomas Cole) D.R. Smith (attorney) Part of same investigation
Case Number          Defendant's attorney          How related

2:19-CR-47 (U.S. v. Bear/Robinson) Jerry Laughlin (attorney for Bear) Wayne Stambaugh (attorney
for Robinson)  Part of same investigation
Case Number          Defendant's attorney          How related

2: 18-CR-17 Defendant: Lisa Carol Weems ONLY Loretta G. Cravens (attorney)
Case Number          Defendant's attorney          How related



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Criminal Informations:
Pending criminal case:    No      Yes___             Case No. _ _ _ _ _ __

New Separate Case___               Supersedes Pending Case _ __

Name of defendant's attorney:

Retained: _ _ _           Appointed:


Date: December 10, 2019                Signature of AUSA: s/J. Gregory Bowman




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